          Case 1:24-cv-02042-NG-SJB Document 5 Filed 03/20/24 Page 1 of 2 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                  CARLOS RUIZ FLOREZ                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 1:24-cv-02042-NG-SJB
                                                                     )
    888 U LLC and TAQUERIA EL BUEN GUSTO,                            )
                     CORP.                                           )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) 888 U LLC
                                           312 KINGS HIGHWAY
                                           BROOKLYN, NY 11223




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Maria-Constanza Barducci, Esq. (Bar No. 5070487)
                                           Barducci Law Firm, PLLC
                                           5 West 19 Street, 10th Floor
                                           New York, New York 10011
                                           (212) 433-2554

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              Brenna Mahoney
                                                                              CLERK OF COURT


Date:      3/20/2024                                                            s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
          Case 1:24-cv-02042-NG-SJB Document 5 Filed 03/20/24 Page 2 of 2 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                  CARLOS RUIZ FLOREZ                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                            Civil Action No. 1:24-cv-02042-NG-SJB
                                                                     )
                                v.
                                                                     )
    888 U LLC and TAQUERIA EL BUEN GUSTO,                            )
                     CORP.                                           )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TAQUERIA EL BUEN GUSTO CORP.
                                           c/o FEDERATED INCOME, CORP.
                                           421 7TH AVENUE SUITE 1002
                                           NEW YORK, NY 10001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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                                                                               Brenna Mahoney
                                                                              CLERK OF COURT

            3/20/2024                                                          s/Kimberly Davis
Date:
                                                                                          Signature of Clerk or Deputy Clerk
